Case 1:22-cv-00154-GBW-SRF   Document 147   Filed 01/30/24   Page 1 of 5 PageID #:
                                   1307
Case 1:22-cv-00154-GBW-SRF   Document 147   Filed 01/30/24   Page 2 of 5 PageID #:
                                   1308
Case 1:22-cv-00154-GBW-SRF   Document 147   Filed 01/30/24   Page 3 of 5 PageID #:
                                   1309
Case 1:22-cv-00154-GBW-SRF   Document 147   Filed 01/30/24   Page 4 of 5 PageID #:
                                   1310
Case 1:22-cv-00154-GBW-SRF   Document 147   Filed 01/30/24   Page 5 of 5 PageID #:
                                   1311
